 Case: 4:14-cv-00385-RWS Doc. #: 16 Filed: 04/17/14 Page: 1 of 1 PageID #: 67



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

DOUGLAS PHILLIP BRUST, D.C., P.C.,                           )
individually and on behalf of all others similarly           )
situated,                                                    )
                                                             )
                                 Plaintiff,                  ) Case No.: 4: 14-CV-00385 RWS
                                                             )
               v.                                            )
                                                             )
OLYMPIC REHAB WELLNESS AND PAIN
CENTER, P.C.,                                                ~ Atfie~ec
                                 Defendant.                  ))                 i~                      tl1d)J.
                                                                                                 "r   J t-i
 PLAINTIFF DOUGLAS PHILLIP BRUST D.C. P.C.'S DISMISS L OF INDIVIDU L                                    /~'/-
      CLAIMS WITH PREJUDICE OF ITS CLAIM AGAINST DEFENDANT

       COMES NOW Plaintiff, DOUGLAS PHILLIP BRUST, D.C., P.C. 's, and pursuant to Rule

41 (a) (1) (A) (ii) hereby dismisses his individual claims against OLYMPIC REHAB WELLNESS

AND PAIN CENTER, P.C. with prejudice.             No notice needs to be issued to the putative class

under Rule 23, because there has been no finding that this action can proceed as a class action, and

no class has been certified herein. Discovery has shown that any other potential members of the

class can not be identified.

                                        /s/ Max G. Margulis
                                    Max G. Margulis, #24325MO
                                    MARGULIS LAW GROUP
                                       28 Old Belle Monte Rd.
                                       Chesterfield, MO 63017
                                          P: (636) 536-7022
                                          F: (636) 536-6652
                               E-Mail: MaxMargulis@MargulisLaw.com
                                         Attorney for Plaintiff

                                   CERTIFICATE OF SERVICE

       I hereby certify that on the l 61h day of April, 2014, I submitted the foregoing via this Court's
CM/ES system, which served notice of the filing on the Attorneys for Defendant, Nataila D.
Mc Kins try, #52453MO, NA TAILA MCKINSTRY, LLC, 1000 A Geyer Ave. ,St. Louis, MO 63104,
Phone: (314) 621-8006, Fax: (314) 241-1304, Email: msmckinstry@charter.net and a courtesy copy
was also served by email.
                                           /s/ Max G. Margulis
                                             Max G. Margulis
